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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

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Civil Action No. 05-N-153 (MJW)

DAVID HABECKER,
Plaintiff,

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TOWN OF ESTES PARK, COLORADO;

BOARD OF TRUSTEES OF THE TOWN OF ESTES PARK, COLORADO;

JOHN BAUDEK, Mayor of the Town of Estes Park, Colorado;

VICKIE O’CONNOR, Town Clerk of the Town of Estes Park, Colorado;

DEWEY SHANKS, Member, Petitioner's Committee to Recall Habecker;

NORMAN D. PRITCHARD, Member, Petitioner's Committee to Recall Habecker; and
RICHARD H. CLARK, Member, Petitioner's Committee to Recall Habecker;

Defendants.

AMENDED ENTRY OF APPEARANCE

Steven J. Dawes and Melinda L. Sanders of the law firm of LIGHT, HARRINGTON &
DAWES, P.C., herein enter their appearances as counsel for Defendants Town of Estes Park,
Colorado; Board of Trustees of the Town of Estes Park, Colorado; John Baudek, Mayor of the
Town of Estes Park, Colorado; and Vickie O’Connor, Town Clerk of the Town of Estes Park,

Colorado. This Amended Entry reflects service on the remaining Defendants.
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Respectfully submitted,

Melinda L. Sanders

Light, Harrington & Dawes, P.C.
1512 Larimer Street, Suite 550
Denver, Colorado 80202
‘Telephone: 303-298-1601
Facsimile: 303-298-1627

Attorneys for Defendants Town of Estes Park, Colorado;
Board of Trustees of the Town of Estes Park, Colorado;
John Baudek, Mayor of the Town of Estes Park, Colorado;
and Vickie O’Connor, Town Clerk of the Town of Estes
Park, Colorado.
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CERTIFICATE OF SERVICE

The undersigned herein certifies that on this 8" day of February, 2005, a true and
complete copy of the foregoing AMENDED ENTRY OF APPEARANCE was placed in the U.S.
mail, first class postage prepaid, addressed as follows:

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